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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:04-cr-00006-MP-AK

DAVID LARRY JONES,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 682, Motion to Continue Sentencing Hearing of

David Larry Jones, filed by the United States. A teleconference was held on August 18, 2006.

As stated during the teleconference, the motion is granted, and the Sentencing reset for

Thursday, October 19, 2006, at 2:00 p.m.

       DONE AND ORDERED this 22nd day of August, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
